110 F.3d 60
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.In re:  Tyrone THOMAS, Debtor.Marie BAXTER, Plaintiff--Appellee,v.Tyrone THOMAS, Defendant--Appellant.
    No. 96-2470.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  March 27, 1997.Decided:  April 2, 1997.
    
      Tyrone Thomas, Appellant Pro Se.
      Neil David Goldman, YOUNG, GOLDMAN, &amp; VAN BEEK, Alexandria, Virginia, for Appellee.
      Before RUSSELL, LUTTIG, and MICHAEL, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order affirming the bankruptcy court's orders imposing monetary sanctions on Appellant for failure to comply with discovery orders and denying reconsideration.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  Baxter v. Thomas, No. CA-96-986-A (E.D.Va. Oct. 7, 1996).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    